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11
12              IN THE UNITED STATES DISTRICT COURT FOR THE
13                       EASTERN DISTRICT OF CALIFORNIA
14
15   UNITED STATES OF AMERICA,         )   CR. No. 1:10-cr-417-AWI
                                       )
16                       Plaintiff,    )   JOINT MOTION TO PRODUCE SEALED
                                       )   TRANSCRIPT OF JUNE 18, 2012
17             v.                      )   HEARING AND TO LIFT PROTECTIVE
                                       )   ORDER AS TO TRANSCRIPT OF APRIL
18                                     )   9, 2012 HEARING
     MICHAEL MANFREDI,                 )
19                                     )
                                       )
20                       Defendant.    )
                                       )
21                                     )
22
23        On April 9, 2012, the Court heard argument on Defendant
24   Michael Manfredi’s Motion to Dismiss the Indictment or to
25   Suppress Evidence for Immunity Violations (Doc. 91).          On June 18,
26   2012, this Court heard further argument on the motion and on
27   Defendant Manfredi’s Motion for Reconsideration (Doc. 113).            The
28   questions before the Court were whether any statements by
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 1   defendant Manfredi had been compelled through threat of
 2   termination from public employment and, if so, whether the
 3   government had used such statements during its investigation.
 4        During both the April 9 and June 18 hearings, the
 5   government’s trial team, co-defendants, and counsel for
 6   co-defendants were excluded from the courtroom to ensure that
 7   they were not exposed to any compelled (or arguably compelled)
 8   statements made by defendant Manfredi.          The government was
 9   represented by Chiraag Bains, an attorney assigned to the
10   Government’s filter team (sometimes referred to as a "taint"
11   team).
12        Pursuant to a joint motion by the parties, the Court sealed
13   the April 9, 2012 hearing transcript and issued a protective
14   order limiting its disclosure to those other than Defendant’s
15   Manfredi’s legal team and the Government’s filter team.             The
16   Court later sealed the June 18, 2012 hearing transcript.
17        The parties agree that, in order to comply with the Court’s
18   rulings and to prepare for trial, it is necessary for the parties
19   to review the sealed transcripts from both hearings.             The parties
20   agree that, to the extent the content of any compelled statements
21   was discussed during the hearings, such content should be
22   protected from dissemination to prosecutors and federal agents
23   assigned to the trial team, co-defendants, or witnesses who might
24   testify at trial.       The parties further agree that any portion of
25   the hearing transcripts that does not discuss the content of any
26   compelled statements may be disseminated to these individuals.
27        Having reviewed the April 9, 2012 hearing transcript, the
28   parties agree that it contains no discussion of the substance of

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 1   any statements deemed compelled by the Court.         The parties cannot
 2   yet make this determination as to the June 18, 2012 hearing,
 3   having not yet reviewed it.
 4        The parties therefore request that the Court enter an order
 5   that (1) the protective order as to the April 9, 2012 hearing
 6   transcript be lifted and the transcript unsealed, permitting its
 7   dissemination to co-defendants, the trial team, and other
 8   parties; (2) a sealed copy of the transcript of the June 18, 2012
 9   hearing be provided to defendant Manfredi and to the attorneys
10   from the government’s filter team; (3) defendant Manfredi and the
11   government’s filter team be precluded from allowing the
12   co-defendants, potential trial witness, attorneys or agents for
13   such persons, and members of the Government’s trial team to
14   review the transcript of the June 18, 2012 hearing; and (4) any
15   party may, for good cause, move for a modification of this
16   Court’s order.
17        For the reasons stated above, defendant Manfredi and the
18   Government respectfully request that this Honorable Court issue
19   an Order to this effect.
20
21                               /s CHIRAAG BAINS
                                 Trial Attorney
22                               U.S. Department of Justice
                                 Civil Rights Division, Criminal Section
23                               601 D Street NW
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24                               Telephone: (202) 514-3204
25                               /s W. SCOTT QUINLAN
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                                 Fresno, CA 93721
27                               Telephone: (559) 442-0634
28                               Dated: November 5, 2012

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 1              IN THE UNITED STATES DISTRICT COURT FOR THE
 2                       EASTERN DISTRICT OF CALIFORNIA
 3
 4   UNITED STATES OF AMERICA,         )       CR. No. 1:10-cr-417-AWI
                                       )
 5                       Plaintiff,    )       ORDER GRANTING JOINT MOTION TO
                                       )       PRODUCE SEALED TRANSCRIPT OF
 6             v.                      )       JUNE 18, 2012 HEARING AND TO
                                       )       LIFT PROTECTIVE ORDER AS TO
 7                                     )       TRANSCRIPT OF APRIL 9, 2012
     MICHAEL MANFREDI,                 )       HEARING
 8                                     )
                                       )
 9                       Defendant.    )
                                       )
10                                     )
11
12        Having reviewed the parties’ Joint Motion to Produce Sealed
13   Transcript of June 18, 2012 Hearing and to Lift Protective Order
14   as to Transcript of April 9, 2012 Hearing, the Court hereby
15   enters the following Order.
16        1.   Because the April 9, 2012 hearing included no
17             discussion of the substance of any statements deemed
18             compelled by this Court, the protective order as to the
19             April 9, 2012 hearing transcript shall be lifted and
20             the transcript unsealed, permitting its dissemination
21             to co-defendants, the trial team, and other parties.
22        2.   A sealed copy of the transcript of the June 18, 2012
23             hearing shall be provided to defendant Manfredi and to
24             the attorneys from the government’s filter team.
25        3.   Defendant Manfredi and the government’s filter team
26             shall be precluded from allowing the co-defendants,
27             potential trial witness, attorneys or agents for such
28             persons, and members of the Government’s trial team to

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 1                review the transcript of the June 18, 2012 hearing
 2       4.       Any party may, for good cause, move for a modification
 3                of this Order.
 4
 5       IT IS SO ORDERED.
 6
     Dated:         November 6, 2012
 7   0m8i78
 8                            UNITED STATES DISTRICT JUDGE

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